      Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 1 of 33




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


 GIANNA KRSTIC

                    Plaintiffs,

 v.

 SOFREGEN MEDICAL INC., and
 ALLERGAN, INC.


                    Defendants.


                            COMPLAINT FOR DAMAGES

       Plaintiff GIANA KRSTIC, by their undersigned attorneys, bring suit against

Defendants SOFREGEN MEDICAL, INC., a Delaware corporation; and ALLERGAN,

Inc., a Delaware Corporation, (collectively, “Allergan Defendants” or “Defendants”);

upon information and belief, investigation and personal knowledge, and at all times

hereinafter mentioned, allege as follows:
                                    INTRODUCTION

       1.      This products liability action relates to the design, development,

manufacture, testing, marketing, promotion, distribution, and sale of the SERI® Surgical

Scaffold (the “Defective Device” or “the Product”).

       2.      On July 16, 2014, the Product was surgically implanted bilaterally in

Plaintiff Gianna Krstic’s breasts by Board certified the plastic and reconstructive surgeon

Deirdre M. Marshall, M.D. The staged bilateral breast reconstruction and implant

exchange, using the SERI Surgical Scaffold was performed by Dr. Marshall at Kendall at

South Miami Hospital, Miami, Florida.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 2 of 33



       3.      The product caused Ms. Krstic to suffer right arm pain and swelling and

chronic capsular pain due to her breast surgery on her right side as well as extremely

frightening chest pain.

       4.       The Product catastrophically failed and Ms. Krstic was required to

undergo an invasive revision surgery, a total capsulectomy including removal of the

implants and removal of the SERI Scaffold. This surgery was performed on September

29, 2015.

       5.      This surgery caused Plaintiff to suffer significant injuries, including great

pain and agony that restricted her ability to engage in activities of daily living as well as

the physical activities that she enjoys. Additionally, Plaintiff suffered a significant wage

loss and full disability because of the failure of the Product, injuries and ensuing

complications caused by the defective Product.

       6.      On August 22, 2018, the social security Administration approved Ms.

Krstic for full disability because of the failed products used during the breast surgery

performed by Dr. Marshall.

       7.      On May 29, 2015, FDA issued a WARNING LETTER to the Quality

Assurance Director at Allergan, the manufacturer, distributor, promoter, marketer and

seller of SERI Surgical Scaffolds in the U.S. The WARNING LETTER reported that

Defendant Allergan was selling these Surgical Scaffolds without marketing clearance or

approval by FDA in violation of the Federal Food, Drug, and Cosmetic Act. FDA wrote

that it had reviewed the Defendant’s website and found that the SERI Surgical Scaffold

was adulterated and marketed in violation of section 501(f)(1)(B) of the Food, Drug, and

Cosmetic Act, 21 U.S.C. § 321(h) by Defendant Allergan.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 3 of 33



       8.      FDA found that Defendant Allergan was selling the Product in violation of

the Act because the Product was misbranded, among other violations.

       9.       Defendant Sofregen Medical Inc., a Massachusetts privately held

corporation acquired Seri Scaffolds from Allergan on or about November 14, 2016, and

continues to market, promote and sell them in the U.S. through the present, despite

significant medical problems like those experienced by Plaintiff, among others.

                                         PARTIES

       10.     Plaintiff Gianna Krstic is a resident of Raleigh, North Carolina. At all

times related to this complaint, Plaintiff was a citizen of Florida.

       11.     Defendant Sofregen Medical, Inc. (hereinafter “Sofregen”) is a

corporation organized under laws of the State of Delaware, with its principal place of

business located at 250 Main Street in Cambridge, Massachusetts, 02142 and as such is a

citizen of both the Commonwealth of Massachusetts and the State of Delaware.

       12.     Defendant Allergan, Inc. (hereinafter “Allergan”) is focused on

developing, manufacturing and commercializing branded pharmaceutical, device,

biologic, surgical and regenerative medical products for patients around the world.

Allergan, Inc.’s principal place of business in the United States is located in Irvine,

California. When Allergan, Inc. communicates FDA concerning the Seri Scaffold

Surgical products, Allergan uses its Boston, Massachusetts address, and previously at all

times relevant, its Medford, Mass. address.

       13.      Upon information and belief, Serica Technologies originally developed

the Product. In 2010, Defendant Allergan acquired Serica Technologies and all the

scaffold products became part of the Allergan product line.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 4 of 33



       14.     At all times relevant hereto, the Allergan Defendants were engaged in the

business of designing, licensing, manufacturing, distributing, selling, marketing and/or

introducing into interstate commerce, either directly or indirectly through third parties or

related entities, numerous prosthetic orthopedic products, including the Product, to

members of the general public throughout the United States, including within the

Commonwealth of Massachusetts, and including to Plaintiff ‘s implanting physician, or

to her practice group or to South Miami Hospital where the implantation surgery

occurred, and ultimately to Dr. Marshall in Miami, Florida.

       15.     The Allergan Defendants were also involved in the business of applying

for market clearance to market the Product, communications with FDA concerning the

Product, and reporting adverse events concerning the Product, and the decision process

and response of Defendants, if any, related to these adverse events.

                             JURISDICTION AND VENUE

       16.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1332 because there is complete diversity of citizenship between Plaintiff and

Defendants, and because Plaintiff alleges an amount in controversy in excess of $75,000,

exclusive of interest and costs.

       17.     The Court has personal jurisdiction over Defendants because at all

relevant times Defendants engaged in substantial business activities in the

Commonwealth of Massachusetts. At all relevant times, the Allergan Defendants

transacted, solicited, and conducted business in Massachusetts through their employees,

agents, and/or sales representatives, and derived substantial revenue from such business

in Massachusetts.
       Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 5 of 33



        18.    Venue is also proper pursuant to 28 U.S.C. § 1391(c) because Defendants

are all corporations that have substantial, systematic, and continuous contacts in the

District of Massachusetts and are all subject to personal jurisdiction in this District.

                               FACTUAL ALLEGATIONS

  I.    Gianna Krstic

        19.    On or about July 16, 2014, Ms. Krstic underwent a total breast

augmentation with insertion of the SERI Surgical Scaffold. The surgical procedure was

performed by Dr. Deirdre M. Marshall, M.D. at South Miami Hospital in Miami, Florida.

        20.    Sometime after the implantation surgery, Ms. Krstic began to experience

chest pain, right arm pain, swelling in her right arm and immobilization of her right arm.

        21.    Dr. G. Patrick Maxwell, a Board certified plastic and reconstructive

surgeon determined that Ms. Krstic had become “incapacitated in her normal lifestyle due

to pain syndrome in her right breast, chest and right upper extremity.” Major Operative

Report, September 29, 2015

        22.    After numerous visits to physicians, and multiple extensive evaluations,

pain management without success, it was determined that there was a problem with the

implants and with the SERI Surgical Scaffold.

        23.    Dr. Maxwell observed that the Seri Scaffold on her right side had

hardened and attached. It had not biodegraded as Allergan had represented it would do.

Dr. Maxwell removed the Seri Surgical Scaffold, observed a tear in Ms. Krstic’s right

pectoralis muscle major, and performed a total capsulectomy. In addition, Ms. Krstic

suffered an infection from the failure of the silk mesh, which infections plagued her and

continued to cause her to suffer significant chest pain and require more hospitalizations.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 6 of 33



       24.     Ms. Krstic was unaware that the SERI Scaffold Surgical mesh had been

used at all in the reconstructive surgery performed by Dr. Marshall. Plaintiff did not

know or appreciate that it was used; that it was used experimentally and without

clearance by FDA; or, that it was the possible cause of her right arm immobilization,

swelling or pain and her chest pains. Plaintiff first learned about the SERI mesh and its

potential association with these medical problems after Dr. Maxwell’s corrective surgery

on September 29, 2015.

       25.     Plaintiff was unaware that her implanting doctor, Dr. Marshall was a paid

consultant to Allergan and did not learn that information until the time of filing this

lawsuit.

       26.      Ms. Krstic improved initially after the surgery, however, by November of

2015, she was admitted to the hospital for pericarditis and pleural effusion. Dr. Maxwell

referred Ms. Krstic to Dr. A. Lee Dellon at Johns Hopkins, Baltimore, Maryland, in 2017,

to further address the pain and infections associated with the SERI Surgical Scaffold silk

mesh from the reconstruction performed by Dr. Marshall.

       27.     As a result of the Seri surgical scaffolding and its failure to biodegrade,

Ms. Krstic has not been able to return to her previous level of productivity. As such,

Plaintiff has suffered and continues to suffer from anxiety and depression, pain and has

suffered, and will continue to suffer, a substantial wage loss. Plaintiff has been awarded

100% disability as a result of the adverse reaction and complications associated with the

implantation of the Product.

       28.     As a result of the Product, Plaintiff’s well-being has suffered, and will

continue to suffer greatly. She has expended and will continue to expend money for her
        Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 7 of 33



care, and expects to continue to suffer these losses and damages due to the ongoing pain,

debilitation, and significant emotional distress, including a significant wage loss

substantially caused by the Product.

II.      BACKGROUND ON SERI SCAFFOLD SURGERY and SERI
         SCAFFOLDS

         29.     Seri Surgical Scaffold is a silk mesh marketed for use in plastic surgery

and reconstructive surgeries to serve as serves as the base for the body to regenerate

tissue after medical procedures.

         30.     The sterile product looks similar to a silk screen and can be cut into many

shapes and sizes for surgical use without tearing or fraying. Because of its flexibility, Seri

Surgical Scaffold can also be used in laparoscopic surgeries and easily fits into

laparoscopic tools. Serica Technologies originally created the scaffold in the mid-2000s.

         31.     In 2010, Defendant Allergan Inc. acquired Serica Technologies and its

scaffold technology.

         32.     Allergan describes the SERI SURGICAL SCAFFOLD on the Allergan

website1 as:




1   https://www.allergan.com/miscellaneous-pages/allergan-pdf-files/ifu_sclfd
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 8 of 33



          SERI® Surgical Scaffold is a knitted, multifilament, bioengineered,

        long-term bioresorbable scaffold. It is derived from silk that has been

    BIOSILK™ purified to yield ultra pure fibroin. The device is a mechanically

          strong and biocompatible bioprotein. SERI® Surgical Scaffold is a

       sterile, single use only product and is supplied in a variety of sizes ready

       for use in open or laparoscopic procedures. The scaffold is flexible and

      well-suited for delivery through a laparoscopic trocar. It is tear resistant,

        with excellent suture retention, and can be cut in any direction. SERI®

     Surgical Scaffold provides immediate physical and mechanical stabilization

              of a tissue defect through its strength and porous (scaffold-like)

                                        construction.

         SERI® Surgical Scaffold is designed to slowly bioresorb in parallel to

       neovascularization and native tissue ingrowth which results in eventual

     replacement of SERI® Surgical Scaffold with native tissue. As bioresorption

          occurs, load bearing responsibility is transferred to the new tissue

           ingrowth such that mechanical integrity is maintained at the site.



        33.      The Allergan website and patent for the Product list its addresses as:

Allergan, 200 Boston Ave., Medford, Mass. and Allergan, Inc. at its principal place of

business in Irvine, California.

        34.      In November 2016, Defendant Sofregen Medical, Inc., located at 200

Boston Ave., Medford, Mass., purchased the product line in an acquisition said to

“strategically [align]” with Sofregen’s vision of advancing a variety of silk-based

solutions to treat patients with soft-tissue defects.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 9 of 33



       35.     Chairman of Sofregen Medical Howard Weisman, referred to the Seri

Surgical Scaffold as “pioneering technology,” and remarked on the global market’s

expectation for products addressing soft-tissue aesthetics to reach $5 billion in 2017.

       36.     Defendant Sofregen, and before that, Allergan, represented that the silk

product would not trigger a foreign body immune response at all. Despite that

representation, it did trigger a foreign body response in Plaintiff.

       37.     Allergan and then Sofregen represented that in surgery, doctors should

place the scaffold over the area that needs support, such as the bottom and side of the

breast in breast-reconstruction surgeries. The surgeon was to place stitches in the scaffold

to ensure it stays in place. While in place, the scaffold reinforces and strengthens the soft

tissue. As the soft tissue repairs itself post-surgery, it is intended to absorb the silk mesh

over time. By the end of the process, the silk scaffold was intended to be mostly or

completely reabsorbed by the body and entirely replaced with regrown soft tissue. And

where the silk mesh was not reabsorbed, it was to have significantly degraded and

softened.

       38.     However, Dr. Marshall, a paid consultant to Allergan, used the silk mesh

in an uncleared manner by using it to reconstruct the breasts.

       39.     Plaintiff Gianna Krstic was never informed of these potential medical

problems associated with the Product.

       40.     Plaintiff was not informed that this product would be used during the

breast reconstructive surgery by Dr. Marshall; and was never informed that the Product

had been associated with severe complications when used in an off-label manner.
       Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 10 of 33



         41.   Following the surgery, Plaintiff began to suffer from right arm pain,

immobilization and swelling. She reported these post-surgical complications to Dr.

Marshall. Dr. Marshall and other physicians who saw Plaintiff initially diagnosed her as

suffering from lymphedema. It was not until February 12, 2015, that she was told that

she did not have lymphedema.

         42.   Plaintiff continued to suffer from unwarned about complications

associated with and caused by the implantation of the Product into her breasts by Dr.

Marshall.

III.     SERI SCAFFOLD SURGICAL MESH’s REGULATORY HISTORY

         43.   Serica Technologies originally submitted a request under 510(k) for

market clearance to manufacture, distribute and sell the SERI Surgical Scaffold.

         44.   The Product was cleared on November 2008 by FDA as a substantially

equivalent product. FDA posts on its 510(k) Premarket Notification:

               Device Classification Name     Mesh, Surgical, Polymeric
               510(K) Number                  K080442
               Device Name                    SERISCAFFOLD SURGICAL MESH
               Applicant                      SERICA TECHNOLOGIES, INC.
                                              200 BOSTON AVENUE
                                              SUITE 3700
                                              Medford, MA 02155
               Applicant Contact              Connie H Garrison
               Correspondent                  SERICA TECHNOLOGIES, INC.
                                              200 BOSTON AVENUE
                                              SUITE 3700
                                              Medford, MA 02155
               Correspondent Contact       Connie H Garrison
               Regulation Number           878.3300
               Classification Product Code FTL
               Date Received                  02/19/2008
               Decision Date                  11/13/2008
               Decision                       Substantially Equivalent (SESE)
               Regulation Medical Specialty   General & Plastic Surgery
               510k Review Panel              General & Plastic Surgery
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 11 of 33



              Summary                     Summary
              Type                        Traditional
              Reviewed By Third Party     No
              Combination Product         No
              Recalls                     CDRH Recalls

       45.      In 2013, Allergan recalled a number of products because there were

sterility, validation and packaging defects in the Products sold by Allergan. That recall

lasted until the end of 2013 but does not appear to have impacted the Product implanted

by Dr. Marshall in July of 2014.

       46.     SERI Scaffold was market cleared by FDA for “use as a transitory

scaffold for soft tissue support and repair to reinforce deficiencies where weakness or

voids exist that require the addition of material to obtain the desired surgical outcome.”

On or about May 29, 2015, FDA issued a WARNING LETTER to Allergan concerning

the over marketing of the Product. According to the FDA WARNING LETTER, the

indications include general soft tissue reconstruction and soft tissue reinforcement in

plastic and reconstructive surgery. However, in violation of the FDA Regulations,

Allergan was specifically marketing the Product for use in breast plastic or reconstructive

surgery.

       47.     FDA stated the breast surgery indication was outside Seri’s intended use

because “surgical mesh has not been cleared or approved for use in breast reconstruction

using a tissue expander or implant.”

       48.     Allergan and Sofregen, its successor in interest in the Product, knew or

should have known that the SERI Scaffold Surgical Mesh was not safe or suitable for the

patients in whom it was implanted, including Ms. Krstic, because of the design of the

device, failure to warn of the true complications of the Product, failure to alert FDA of

the ongoing off-label use of the Product, poor and inadequate quality assurance
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 12 of 33



procedures, and that it specifically was not indicated for reconstructive breast surgery for

which it was sold.

       49.     As successor in interest to Allergan in connection to the Product, Sofregen

knew or had reason to know of the failures from off-label use of the problem and medical

complications caused by those failures.

       50.     As successor in interest to Allergan in connection to the Product, Sofregen

had a duty to alert physicians, surgeons and FDA of these expected failures and by failing

to do so, and concealing the adverse events, Plaintiff and others like her, failed to get the

adequate earlier care required.

       51.     To the extent that Allergan and Sofregen did not actually know that the

SERI Scaffold Surgical Mesh was unsafe, Allergan and Sofregen failed to recognize the

deficiencies of the Product due to poor and inadequate quality assurance procedures, poor

or completely inadequate to conduct required post marketing surveillance and adverse

event reporting.

       52.     Defendants failed to alert the implanting physicians, their customers, of

the dangers and risks of off-label use of the Product.

       53.     Plaintiff’s implanting doctor was a paid consultant to Allergan prior to and

at the time she implanted the SERI Scaffold Surgical mesh into Plaintiff. Had

Defendants alerted Dr. Marshall of these medical problems associated for non-cleared

uses of the Product, Dr. Marshall would have been alerted to these serious medical

problems and would have alerted her patient, the Plaintiff so that both Dr. Marshall and

the Plaintiff could make an informed choice based on the truth as supplied by

Defendants.
    Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 13 of 33



       54.     Dr. Marshall used the Product in an off-label manner. Had Defendants

alerted Dr. Marshall to these medical problems caused by off-label use, Dr. Marshall

could have made an educated decision of whether or not to even use the Product in this

manner.

       55.     Had Plaintiff or her doctors had known that the Silk mesh did not

properly degrade, and could cause hardening of the mesh under and around the breast

reconstruction and the implants, resulting in hardening of the tissues, and related medical

problems Had Plaintiff or her doctors had known that the Silk mesh did not properly

degrade, and could cause hardening of the mesh under and around the breast

reconstruction and the implants, resulting in hardening of the tissues, and related medical

problems, Plaintiff and/or her doctors could and would have recognized the symptoms of

her chest pain, arm swelling, limb immobilization and pain by earlier intervention.

       56.     As a result of the Product’s defects and Defendants’ tortious

acts/omissions, Plaintiff, and many other patients who received these Products, endured

unnecessary pain and suffering; debilitating lack of mobility; and subsequent surgeries to

replace the faulty Product and address complications arising from the Product and

revision surgeries, giving rise to more pain and suffering, a prolonged recovery time, and

an increased risk of complications and risk of death from surgeries.

       57.     Plaintiff and those like her have suffered from unnecessary pain,

debilitation, hospitalization, and the need to undergo subsequent revision surgeries

because Defendants defectively designed the Product and/or failed to adequately warn of

the dangers of the Product.
      Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 14 of 33



IV.     VIOLATIONS OF FEDERAL REGULATIONS

        58.      The Medical Device Amendments of 1976 (“MDA”) to the Food Device

Cosmetic Act (“FDCA”) established the current regulatory framework for medical device

approval.

        59.      According to the U.S. Supreme Court in Buckman v. Plaintiffs’ Legal

Comm., 531 U.S. 341, 346 (2001), the Supreme Court explained that: “[s]ection 510(k)

submissions must include the following: ‘Proposed labels, labeling, and advertisements

sufficient to describe the device, its intended use, and the directions for its use,’ 21 CFR

§ 807.87(e) (2000); and must include “[a] statement indicating the device is similar to

and/or different from other products of comparable type in commercial distribution,

accompanied by data to support the statement,” § 807.87(f); “[a] statement that the

submitter believes, to the best of his or her knowledge, that all data and information

submitted in the premarket notification are truthful and accurate and that no material fact

has been omitted,” § 807.87(k); and “any additional information regarding the device

requested by the [FDA] Commissioner that is necessary for the Commissioner to make a

finding as to whether or not the device is substantially equivalent to a device in

commercial distribution,” § 807.87(l). Here, the Product was cleared pursuant to this

510(k) process.

        60.      The FDCA requires cleared medical devices to be demonstrated to be safe

and effective for each intended use. See 21 U.S.C. § 360e(c)(2)(A)(v). Not only is the

medical device itself part of the 510(k) process, but so is the labeling and packaging that

comes with it.

        61.      Pursuant to federal law, a device is deemed to be misbranded if, among

other things, its labeling is false or misleading in any particular manner, or if it is
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 15 of 33



dangerous to health when used in the manner prescribed, recommended, or suggested in

the labeling thereof. See 21 U.S.C. §352.

       62.     Pursuant to federal law, a device is deemed to be adulterated if, among

other things, it fails to meet established performance standards, or if the methods,

facilities or controls used for its manufacture, packing, storage or installation are not in

conformity with federal requirements. See 21 U.S.C. §351.

       63.     Pursuant to federal law, manufacturers are required to comply with FDA

regulation of medical devices, including FDA requirements for records and reports, in

order to prohibit introduction of medical devices that are adulterated or misbranded, and

to assure the safety and effectiveness of medical devices. In particular, manufacturers

must keep records and make reports if any of its medical devices may have caused or

contributed to death or serious injury, or if the devices have malfunctioned in a manner

likely to cause or contribute to death or serious injury. Federal law also mandates that the

FDA establish regulations requiring a manufacturer of a medical device to report

promptly to FDA any correction or removal of a device undertaken to reduce a risk to

health posed by the device, or to remedy a violation of federal law by which a device may

present a risk to health. See 21 U.S.C. §360(i).

       64.     Pursuant to FDA regulation, adverse events associated with a medical

device must be reported to FDA within 30 days after the manufacturer becomes aware

that (a) a device may have caused or contributed to death or serious injury, or (b) that a

device has malfunctioned and would be likely to cause or contribute to death or serious

injury if the malfunction was to recur. Such reports must contain all information

reasonably known to the manufacturer, including any information that can be obtained by
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 16 of 33



analysis, testing, or other evaluation of the device, and any information in the

manufacturer’s possession. In addition, manufacturers are responsible for conducting an

investigation of each adverse event, and must evaluate the cause of the adverse event. See

21 CFR §803.50.

       65.     Pursuant to federal regulations, manufacturers of medical devices must

also describe in every individual adverse event report whether remedial action was taken

with regard to the adverse event, and whether the remedial action was reported to FDA as

a removal or correction of the device. See 21 CFR §803.52.

       66.     Pursuant to federal regulations, manufacturers must report any reportable

Medical Device Reporting (“MDR”) event or events, including a trend analysis that

necessitates remedial action to prevent an unreasonable risk of substantial harm to the

public health, to the FDA within 5 business days after becoming aware of such event or

events. See 21 CFR §803.53.

       67.     Pursuant to federal regulations, device manufacturers must report

promptly to FDA any device corrections and removals and must also maintain records of

device corrections and removals. FDA regulations require submission of a written report

within ten working days of any correction or removal of a device initiated by the

manufacturer to reduce a risk to health posed by the device, or to remedy a violation of

the Act caused by the device which may present a risk to health. The written submission

must contain, among other things, a description of the event giving rise to the information

reported, the corrective or removal actions taken, and any illness or injuries that have

occurred with use of the device, including reference to any device report numbers.

Manufacturers must also indicate the total number of devices manufactured or distributed
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 17 of 33



which are subject to the correction or removal, and provide a copy of all communications

regarding the correction or removal. See 21 CFR §806.

       68.     Pursuant to federal regulations, manufacturers must comply with specific

quality system requirements promulgated by FDA. These Regulations require

manufacturers to meet design control requirements, including but not limited to

conducting design validation to ensure that devices conform to define user needs and

intended uses. Manufacturers must also meet quality standards in manufacture and

production of the devices. Manufacturers must establish and maintain procedures for

implementing corrective actions and preventive actions, and investigate the cause of

nonconforming products and take corrective action to prevent recurrence. Manufacturers

are also required to review and evaluate all complaints and determine whether an

investigation is necessary. Further, manufacturers are required to use statistical

techniques, where necessary, to evaluate product performance. See 21 CFR §820.

       69.     Pursuant to federal regulations, a manufacturer must report to the FDA

any new indications for use of a device, labeling changes, or changes in the performance

or design specifications, circuits, components, ingredients, principle of operation or

physical layout of its devices. Federal regulations require that: “A PMA supplement must

be submitted when unanticipated adverse effects, increases in the incidence of anticipated

adverse effects, or device failures necessitate a labeling, manufacturing, or device

modification.” See 21 CFR §814.

       70.     Specifically, it is believed that with respect to the Product, the Allergan

Defendants sold the Product for the intended us of breast augmentation and breast plastic

surgery and reconstruction without clearance by FDA.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 18 of 33



       71.     The Product was marketed and sold by the Allergan Defendants in

violation of certain Federal Regulations. Upon information and belief, Defendants

intentionally marketed and sold the Product for a nonindicated use, failed to timely report

adverse events; failed to timely conduct failure investigations and analyses; failed to

timely report any and all information concerning product failures and corrections; failed

to timely and fully inform FDA of unanticipated adverse effects, increases in the

incidence of adverse effects, or device failures necessitating a labeling, manufacturing or

device modification; failed to conduct necessary design validation; and, among other

things, sold a misbranded and adulterated product.

                                  CLAIMS FOR RELIEF

                                       CLAIM ONE
                                      NEGLIGENCE

       72.     Plaintiff adopts and re-alleges the allegations contained in the above

paragraphs as if set forth fully herein.

       73.     Defendants designed, manufactured, marketed, detailed, advertised, and

sold to physicians and consumers the Products.

       74.     As a result, Defendants had a duty to exercise reasonable care in the

design, formulation, manufacture, testing, quality assurance, quality control, labeling,

marketing, warning, sale and/or distribution of the Product, including:

               (a)     a duty to assure that their products did not pose a significantly

increased risk of bodily harm and adverse events; and/or

               (b)     a duty to adequately warn foreseeable users of known or

reasonably known dangers.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 19 of 33



        75.     Defendants failed to use reasonable and due care for the safety and well-

being of those in whom the Product would be implanted, including Plaintiff herein and is

therefore negligent in the following respects:

                (a)     Defendants failed to adequately design and manufacture the

Product to ensure that the Product could perform as represented and would bioabsorb into

the surrounding tissue and form a strong structure for the new native tissue;

                (b)     Defendants failed to warn implanting surgeons, such as Dr.

Marshall, and the patients, such as Plaintiff, of the increased risk of failure of the

implanted silk mesh used as a scaffold for the reconstruction of soft tissue especially in

the breast;

                (c)     Defendants were negligent in designing and manufacturing the

Product such that it was subject to failure to reabsorb, due to a combination of the failure

of the mesh to reabsorb and the normal immune reaction to a foreign object, and in some

cases to actual infection with microorganisms, the silk mesh starts to cause the native

tissue to disintegrate, and the need for revision surgery;

                (d)     Defendants, furthermore, in advertising, marketing, promoting,

packaging and selling the Devices negligently misrepresented material facts regarding

their safety, efficacy and fitness for human use by claiming the Product was fit for its

intended purpose when, in fact, it was not;

                (e)     Defendants, in advertising, marketing, promoting, packaging and

selling the Product, negligently misrepresented material facts regarding its safety,

efficacy and fitness for human use by claiming the Product had been adequately and

reliably tested when, in fact, it had not;
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 20 of 33



                (f)      Defendants, in advertising, marketing, promoting, packaging and

selling the Product, negligently misrepresented material facts regarding its safety,

efficacy and fitness for human use by claiming the risk of serious adverse events and/or

effects from the Product; and,

                (g)      Defendants, in advertising, marketing, promoting, packaging and

selling the Product, negligently misrepresented material facts regarding its safety,

efficacy and fitness for human use by claiming the Product had not caused or contributed

to serious adverse events and/or effects requiring the premature explants of the device

when, in fact, it had.

        76.     Defendants knew or reasonably should have known of the true risks and

dangers associated with the manner and circumstances of Plaintiff Ms. Krstic’s

foreseeable use of the Product, which dangers would not be obvious to the general public.

        77.     Defendants knew or had reason to know that Plaintiff Ms. Krstic, as a

member of the general public for whose use the Product was placed into interstate

commerce in Florida, was a foreseeable user who would be likely to use the Product in a

manner described in this Complaint.

        78.     Defendants knew or should have known that consumers such as Plaintiff

would foreseeably suffer injury as a result of their failure to exercise ordinary care as

described above.

        79.     Despite the fact that Defendants knew or should have known that the

Product posed a serious risk of bodily harm to consumers, they continued to manufacture,

market, distribute and sell this Product for use by plastic and reconstructive surgeons for
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 21 of 33



use in their patients and continued to fail to adequately warn foreseeable users of the

Product’s dangers.

       80.     Prior to and at the time that Dr. Marshall performed the breast

augmentation surgery for Plaintiff Ms. Krstic in 2014, Defendants knew or should have

known that the Product was defective for the reasons described herein, and Defendants

had the opportunity and duty to warn Dr. Marshall and Plaintiff Ms. Krstic of the

defective nature of the Product.

       81.     Despite the fact that Defendants knew or should have known of the true

risks and dangers in connection with the use of this Product, they failed to warn Dr.

Marshall or Plaintiff Krstic of the defective nature of the Product.

       82.     Defendants’ conduct, as described above, including, but not limited to, the

failure to adequately test and warn, failure to obtain market clearance from FDA as well

as marketing and distribution of the Product when Defendants knew or should have

known of the serious health risks these devices created, was negligent and the breach of

that duty resulted in the harm suffered by Plaintiff.

       83.     Defendants misrepresented the authors of supporting medical and animal

studies shown to physicians as examples of successful use of the Product, when

Defendants knew or should have known that these authors were not the truly independent

scientists depicted when in fact most, were paid consultants and employees of Allergan.

       84.     As a direct and proximate result of Defendants’ negligence, including

negligent testing, failure to warn and misrepresentations, Plaintiff Krstic suffered serious

physical injury, harm, damages and economic loss and will continue to suffer such harm,

damages and economic loss in the future.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 22 of 33



       85.       As a direct and proximate result of Defendants' negligence, Plaintiff Krstic

has suffered and will continue to suffer injuries, damages and losses, and is entitled to

compensatory damages in an amount to be determined by the trier of fact.

                           CLAIM TWO
      BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY

       86.       Plaintiff adopts and re-alleges the allegations contained in the above

paragraphs as if set forth fully herein.

       87.       In Massachusetts, the warranty of merchantability is governed by Mass.

Gen. L. ch. 106, § 2-314 which provides, inter alia, that goods must be “fit for the

ordinary purposes for which such goods are used” and must “conform to the promises or

affirmations of fact made on the container or label if any.” § 2-314(2)(c).

       88.       Defendants had a duty to design, manufacture, place into the stream of

commerce, distribute, market, promote and sell, the Product so that it was neither

defective nor unreasonably dangerous when put to the use for which it was designed,

manufactured, distributed, marketed and sold.

       89.       At all times relevant to this Complaint, the Defendants were engaged in

the business of designing, manufacturing, marketing, distributing and selling orthopedic

hip implants and did design, manufacture, distribute, market and sell the Product.

       90.       The Allergan Defendants did in fact design, manufacture, sell, distribute,

supply, and/or promote the Product to Plaintiff Krstic and her implanting physician.

Defendants expected the Product they were selling, distributing, supplying,

manufacturing and/or promoting to reach, and it did in fact reach, implanting physicians

and consumers, including Plaintiff Krstic and Dr. Marshall, without substantial change in

the condition.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 23 of 33



       91.        At the time the Product left the Defendants’ possession and the time the

Product entered the stream of commerce in the Commonwealth of Massachusetts, it was

in an unreasonably dangerous or defective condition, due to defects including but not

limited to, the following:

                  (a)    the Product was not reasonably safe as intended to be used;

                  (b)    the Product had an inadequate design for the purpose of breast

reconstruction;

                  (c)    the Product contained unreasonably dangerous design defects,

including an inherently unstable and defective design, which resulted in an unreasonably

high probability of early failure;

                  (d)    the Product’s unstable and defective design resulted in the Product,

which had risks which exceeded the benefits of the medical device;

                  (e)    the Product was not appropriately or adequately tested before its

distribution; and

                  (f)    the Product had an unreasonably high propensity for failure to

reabsorb, for failure to accept and hold the weight of a reconstructed breast under the

known about and marketed off-label use of the Product;

                  (g)    the Product was improperly marketed by Defendants for an

unstable use;

                  (h)    Defendants improperly marketed with Product without disclosing

the true risks and dangers of the Product used in breast reconstructive surgery.

       92.        At the time of the Allergan Defendants’ initial design, manufacture,

marketing, and sale of the Product, including prior to the time of Plaintiff Krstic’s initial
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 24 of 33



breast reconstructive surgery, Defendants had the ability to eliminate the unsafe character

of the Product without impairing its usefulness.

          93.   Had Defendants properly and adequately tested the Product, Defendants

would have discovered that the Product did not perform in the manner represented and

could not withstand stress resulting from the ordinary wear and tear of patients, and was

likely to cause tissue necrosis, hardening of the Product and adjacent tissue,

immunological response, infections, and a host of other maladies.

          94.   The Product manufactured and supplied by the Allergan Defendants was,

therefore, defective in design or formulation in that, when it left the hands of Defendants,

it was unreasonably dangerous and more dangerous than an ordinary consumer would

expect.

          95.   The warnings (pre-surgery and/or post-surgery) to Plaintiff Krstic and his

implanting and revising physician about the dangers the Product posed to consumers

were inadequate. Examples of the lack and/or inadequacy of Defendants' warnings

include, but are not limited to, one or more of the following particulars:

          96.   The Product contained warnings insufficient to alert Plaintiff Krstic and

Plaintiff's physician as to the reduced fatigue strength of the Stem and Neck, as well as to

the risk of adverse events, i.e., neck fractures, associated with the Product, subjecting

Plaintiff Krstic to risks which exceeded the benefits of the Product;

          97.   The Product contained warnings insufficient to alert Plaintiff Krstic and

her physician as to the potential for fretting and corrosion between the neck and stem

components, releasing metal debris that can result in metal poisoning, tissue necrosis, and

bone loss.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 25 of 33



       98.     The Product contained warnings insufficient to alert Plaintiff Krstic and

his physician as to the excessively high rate of premature failure of the Product;

       99.     The Product contained misleading warnings emphasizing the efficacy of

the Product while downplaying the risks associated with it, thereby making use of the

Product more dangerous than the ordinary consumer would expect;

       100.    The Product contained insufficient and/or incorrect warnings to alert

consumers, including Plaintiff Krstic, through their prescribing physician regarding the

risk, scope, propensity, frequency, duration and severity of the adverse events associated

with the Product;

       101.    The Product's warnings did not disclose that it was inadequately tested;

       102.    The Product's warnings and instructions failed to convey adequate post-

marketing warnings regarding the risk, severity, propensity, frequency, scope and/or

duration of the dangers posed by the Product;

       103.    The Product failed to contain instructions sufficient to alert consumers to

the dangers it posed and to give them the information necessary to avoid or mitigate those

dangers; and

       104.    The Product's warning against use in active patients was insufficient and

inadequate.

       105.    Plaintiff Krstic used the Product for its intended purpose, i.e., hip

replacement.

       106.    Plaintiff Krstic could not have discovered any defect in the Product

through the exercise of due care.
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 26 of 33



        107.      Defendants, as designers, manufacturers, distributors, promoters,

marketers and/ or sellers of medical devices are held to the level of knowledge of experts

in their field.

        108.      Neither Plaintiff Krstic nor his implanting physician had substantially the

same knowledge about the Product as Defendants.

        109.      Defendants knew or reasonably should have known the Product was

unsuited for active individuals such as Plaintiff Krstic.

        110.      As a direct and proximate result of the Product’s defective design and

Defendants' failure to adequately communicate a warning and/or failure to provide an

adequate warning and other wrongful conduct as set forth herein, Plaintiff Krstic has

sustained and will continue to sustain severe physical injuries, severe emotional distress,

mental anguish, economic losses, full disability and other damages, as set forth herein.

        111.      As a direct result of Defendants' failure to warn and/or inadequate warning

and their other tortious conduct, Plaintiff Krstic has suffered serious physical injury,

harm, damages and economic loss and will continue to suffer such harm, damages and

economic loss in the future.

        112.      As a direct and proximate result of the defective design and Defendants'

failure to warn and/or inadequate warning and their other tortious conduct, as set forth

herein, Plaintiff Krstic has suffered and will continue to suffer injuries, damages and

losses, and is entitled to compensatory damages in an amount to be determined by the

trier of fact.

        113.      As a direct and proximate result of Plaintiff Krstic’s use of the Product, as

manufactured, designed, sold, supplied, marketed and introduced into the stream of
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 27 of 33



commerce by Defendants, Plaintiff Krstic has suffered serious physical injury, harm,

damages and economic loss and will continue to suffer such harm, damages and

economic loss in the future.

       114.    As a direct and proximate result of Defendants’ defective product and

tortious conduct as set forth herein, Plaintiff Krstic has suffered and will continue to

suffer injuries, damages and losses, and is entitled to compensatory damages in an

amount to be determined by the trier of fact.

                                      CLAIM THREE

                           FRAUDULENT CONCEALMENT

       115.    Plaintiff adopts and re-alleges the averments contained in the above

paragraphs as if set forth fully herein.

       116.    Allergan and Serica Technology, as the designers, manufacturers, and

sellers of the Product had knowledge of material facts about the quality, safety, and

effectiveness of the Product that was superior to the knowledge that Plaintiff and

Plaintiff’s surgeon possessed or could have possessed.

       117.    The Allergan Defendants’ knowledge that the Product was associated with

an increased risk of failure with marketed for off-label use of the Product was not

available to the public or medical community. This is so because the Allergan

Defendants had exclusive knowledge about, and possession, of the following:

               (a)     Pre-market documents, including the Design History and Risk

Management Files. These files are required for medical devices that can cause or

contribute to death, serious illness, or injury and document that medical device

manufacturers are complying with design controls. The files include information about:

the design inputs, which are the product requirements that include the physical and
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 28 of 33



performance characteristics of the device that are used as a basis for device design;

design outputs—known as the product specifications, which are broadly speaking the

“blueprints” for the product; design verifications and validations, which are the test

protocols and test reports to confirm the products meet the design requirements and

specifications and conform to user needs and intended uses; engineering change orders,

which are intended design changes; internal audit reports of the Design History File; and

device/design failure modes and effects analysis, which identifies possible failures in a

design or manufacturing process.

               (b)     Regulatory submissions. This includes premarket notification and

all communications related to the clearance from and to the FDA; letters to file regarding

modifications to the Product that are not reported to the FDA; and correction and removal

reports to the FDA, which is any correction or removal of a medical device if the

correction or removal was initiated to reduce a risk to health posed by the device.

               (c)     Post-market surveillance. This includes complaint files with

documents that are not in the public domain; corrective and preventive action files with

documents that are not in the public domain such as Health Hazard Evaluations and

verifications or validation reports, which are used to identify and investigate product and

quality problems, and full Medical Device Reports that report adverse events.

       118.    The Allergan Defendants have a special relationship with implanting

surgeons, and thus a duty to doctors that significantly exceeds the duty between ordinary

buyers and sellers, because doctors, such as Dr. Marshall, rely on information from

medical device manufacturers and they expect this information to be truthful. For this
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 29 of 33



reason, Defendants knew or should have known that surgeons rely on information

provided by them.

        119.    Defendants affirmatively misrepresented that off-label use was safe and

effective when Defendants knew or had reason to know that was untruthful.

        120.    In addition, prior to Plaintiff Krstic’s implanting surgery and continuing

through her revision surgery, Defendants knew that the Product was defective and

unreasonably dangerous for its intended purpose because it was associated with an

increased risk of failure with ordinary use of the Product but failed to exclude that

material information to the plastic and reconstructive surgery community, thereby

concealing and/or impeding the critical care that Plaintiff needed.

        121.    With full knowledge of the risks and/or defects, Defendants consciously,

deliberately and intentionally failed to disclose and misrepresented material facts to

Plaintiff Krstic and her implanting physician, with the intent of inducing the physician to

use the product.

        122.    Defendants’ fraudulent concealment of the true facts that the Product was

associated with an increased risk of failure of the Product continued through the time of

Plaintiff Krstic’s revision surgery in November of 2015. This fraudulent concealment led

to a worse outcome for Ms. Krstic. Defendants were responsible for these omissions and

failure to disclose.

        123.    Defendants were responsible for training all sales representatives who sold

Wright products.

        124.    In training the sales representatives, Defendants did not disclose the risks

of a higher prevalence for failure and resulting medical problems including infection,
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 30 of 33



hardening of the silk mesh, and destruction of the implants and adjacent tissue, and the

need for patients to be monitored accordingly and undergo revision surgery.

Accordingly, prior to Plaintiff Krstic’s implanting surgery and continuing through her

revision surgery, the sales representatives who sold the Product to Dr. Marshall, did not

disclose the above-mentioned risks to Plaintiff’s surgeon or Plaintiff.

       125.    The facts concealed or not disclosed by Defendants to Plaintiff and

Plaintiff’s surgeon were material facts that a reasonable person, including Plaintiff Krstic

and her implanting surgeon, would have considered to be important in deciding whether

or not to undergo a procedure or surgery using the Product.

       126.    Plaintiff and Plaintiff’s surgeon relied on representations and information

provided by the Allergan Defendants, which is demonstrated by the fact that Plaintiff was

implanted with the Product and not warned of the increased risk of failure, and the need

to be monitored accordingly and the potential for revision surgery. Had Defendants

disclosed these risks, Plaintiff would not have consented to the implantation of the

Product and would not have suffered a catastrophic failure.

       127.    As a direct and proximate result of Defendants’ failure to adequately

communicate a warning and/or failure to provide an adequate warning and other

wrongful conduct as set forth herein, Plaintiff Krstic has sustained and will continue to

sustain severe physical injuries, severe emotional distress, mental anguish, economic

losses, full disability, and other damages, as set forth herein.

       128.    As a direct and proximate result of Defendants’ failure to warn and/or

inadequate warning and their other tortious conduct, as set forth herein, Plaintiff Krstic

has suffered and will continue to suffer injuries, damages and losses, and is entitled to
     Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 31 of 33



compensatory damages in an amount to be determined by the trier of fact. Additionally,

Plaintiff Krstic is entitled to recover such damages from Defendants as may be permitted

by Massachusetts law for the fraud and suppression of information as set forth above.

                        CLAIM FOUR
   BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
                         PURPOSE

       129.    Plaintiff adopts and re-alleges the averments contained in the above

paragraphs as if set forth fully herein.

       130.    At the time Defendants designed, manufactured, marketed, sold and/or

distributed the Product for use by Plaintiff Krstic, who was a foreseeable user of the

Product, Defendants knew of the use for which these devices were intended and

impliedly warranted these products to be safe for such use: breast reconstruction by a

plastic or reconstructive surgeon.

       131.    The Product manufactured and supplied by Defendants was not fit for the

particular purpose for which it was sold to Plaintiff because it carried a high risk of

among other defects, an unreasonably high failure rate and the likelihood of painful and

debilitating revision surgery when the Product was implanted.

       132.    Plaintiff Krstic and/or her physician reasonably relied upon the skill and

judgment of Defendants to furnish suitable goods for reconstructive surgery in Plaintiff

Krstic, and upon Defendants’ provision of the Product, represented to be safe for its

particular use and purpose.

       133.    Contrary to Defendants’ implied warranty of fitness for a particular

purpose, Defendants’ Product was not safe for the particular use and purpose for which it

was transferred to Plaintiff, because the Product was defective as described above.
      Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 32 of 33



        134.      As a direct and proximate result of Defendants’ breaches of the implied

warranty of fitness for a particular purpose, Plaintiff Krstic, who was using the Product

for the known particular purpose at the time of her injuries, has suffered serious physical

injury, harm, damages and economic loss and will continue to suffer such harm, damages

and economic loss in the future.

        135.      As a direct and proximate result of Defendants' breaches of the implied

warranty of fitness for a particular purpose, Plaintiff Krstic has suffered and will continue

to suffer injuries, damages and losses, and is entitled to compensatory damages in an

amount to be determined by the trier of fact.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demands judgment against the Defendants, and each of

them, in an amount which exceeds the jurisdictional limits of all lower courts, together

with interests, costs, and disbursements of this action, including damages including, but

not limited to:
                  (a)    for special damages, to include past and future medical and

incidental expenses, according to proof;

                  (b)    for past and future loss of earnings and/or earning capacity,

according to proof;

                  (c)    for past and future general damages, to include pain and suffering,

emotional distress and mental anguish, according to proof;

                  (d)    for pre-judgment and post-judgment interest;

                  (e)    for the costs of this action, including reasonable attorneys' fees;

and
    Case 1:18-cv-11585-NMG Document 1 Filed 07/27/18 Page 33 of 33



               (f)      granting any and all such other and further legal and equitable

relief as the Court deems necessary, just and proper.

                              DEMAND FOR JURY TRIAL

       Plaintiff hereby requests a trial by jury of all issues triable by jury.

 Dated: July 27, 2018                  Respectfully submitted,


                                       /s/ Paula S. Bliss   (BBO# 652361)

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